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                                        UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                             HOUSTON DIVISION



     UNITED STATES OF AMERICA                                      )
                                                                   )
                                vs.                                )                  Case No.
                                                                   )
    Q, l o \/ A- IJ, . AJ ~ J-¥Ld.k-                               )
                                                                   )
                      Defendant,        f}, I l, C i; 0            )
                                                                   )
                                                                   )
                                                  APPEARANCE BOND

      G, l () '/,.-4 /J i 4,-{ l'I. .A-f\.d,c.... i ef\nt~':  : greement
     I, _ _ _ _ _ _ _ _ , agree to fol ~              ery order of this court, or any
     court that considers this case, and I further agree that this bond may be forfeited ifl fail:
             ( IZI ) to appear for court proceedings;
             ( 0 ) if convicted, to surrender to serve a sentence that the court may impose; or
             ( D ) to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                         Type of Bond

     ( D ) (1) This is a personal recognizance bond.

     c'Er'J(2) This is an unsecured bond of$_~ ~ (j(J V
     ( D) (3) This is a secured bond of$_, secured by:

             ( D ) (a)$_, in cash deposited with the court.

             ( D ) (b) the agreement of the defendant and each surety to forfeit the following cash or other
                     property (describe the cash or other property, including claims on ii - such as a lien, mortgage, or loan -
                     and attach proof of ownership and value):



                     If this bond is secured by real property, documents to protect the secured interest
                     may be filed of record.

            ( D ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe ii and identify the
                     surety):
.,   ~ '   .
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                                                          Forfeiture or Release of the Bond

                 Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the
                 above agreement. The court may immediately order the amount of the bond surrendered to the United
                 States, including the security for the bond, if the defendant does not comply with the agreement. At the
                 request of the United States, the court may order a judgment of forfeiture against the defendant and each
                 surety for the entire amount of the bond, including interest and costs.

                Release of the Bond. The court may order this appearance bond ended at any time. This bond will be
                satisfied and the security will be released when either: (1) the defendant is found not guilty on all charges,
                or (2) the defendant reports to serve a sentence.

                                                                    Declarations

                Ownership of the Property. I, the defendant - and each surety - declare under penalty of perjury that:

                          (I) all owners of the property securing this appearance bond are included on the bond;
                          (2) the property is not subject to claims, except as described above; and
                          (3) I will not sell the property, allow further claims to be made against it, or do anything to reduce
                          its value while this appearance bond is in effect.

                Acceptance. I, the defendant - and each surety - have read this appearance bond and have either read all
                the conditions of release set by the court or had them explained to me. I agree to this Appearance Bond.

                I, the defendant - and each surety - declare under penalty of perjury that this information is true.
                (See 28 U.S.C. § 1746.)

                        Z,, _
                Date: _ _   ,            J__I}-~
               ,...,~
                x.._ fs k.~r                     A(le     lu.tl'-t.A--
                          suretylproperty owner - printed name
                                                                                    4/~-'l-~--
                                                                                   //sure ty/property owner - signature and date




                          Surety/property owner - printed name                       Surety/property owner - signature and date




                          Surety/property owner - printed name                       Surety/property owner - signature and date


                                                                             CLERK OF COURT

                Date: _ _/"'I
                         o____·7 . -::\--..~
                                   vv
                                   ___   u-_
                                                                                     Signature of Clerk or Deputy Clerk

                Approved.

                Date: )       ~-      a-rea
